          Case 2:19-cv-05697-JS Document 92 Filed 01/08/21 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 THE MIDDLE EAST FORUM                       :        CIVIL ACTION
                                             :
   v.                                        :        No. 19-5697
                                             :
 LISA REYNOLDS-BARBOUNIS                     :

                                         ORDER

        AND NOW, this 8th day of January, 2021, upon consideration of Plaintiff The Middle

East Forum’s Motion for Preliminary Injunction, Defendant Lisa Reynolds-Barbounis’s

response, Middle East Forum’s reply, the parties’ presentations at the December 17 and

December 23, 2020, hearings on the motions, and the parties’ proposed findings of fact and

conclusions of law, and for the reasons stated in the accompanying Memorandum, it is

ORDERED Middle East Forum’s Motion (Document 5) is DENIED.



                                                     BY THE COURT:



                                                        /s/ Juan R. Sánchez
                                                     Juan R. Sánchez, C.J.
